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10                          UNITED STATES DISTRICT COURT
11                                DISTRICT OF NEVADA
12
13   UNITED STATES OF AMERICA,         )           2:09-cr-00384-HDM-LRL
                                       )
14                  Plaintiff,         )
                                       )
15   vs.                               )           ORDER
                                       )
16   CHARLES BRESNIHAN,                )
                                       )
17                  Defendant.         )
     _________________________________ )
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           The court has considered the report and recommendation of the
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     United States Magistrate Judge (#54) filed on February 18, 2010, in
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     which the magistrate judge recommends that this court enter an
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     order denying defendant’s motion to suppress (#37).             The court has
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     also considered the defendant’s objection to the report and
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     recommendation (#60) filed March 1, 2010.
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           The court has considered the pleadings and memoranda of the
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     parties and other relevant matters of record and has made a review
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     and determination in accordance with the requirements of 28 U.S.C.
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     § 636 and applicable case law, and good cause appearing, the court
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 1   hereby ADOPTS AND ACCEPTS the report and recommendation of the
 2   United States Magistrate Judge (#54).         Accordingly, the defendant’s
 3   motion to suppress (#37) is DENIED.
 4         IT IS SO ORDERED.
 5         DATED: This 15th day of March, 2010.
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 7                                ____________________________
                                  UNITED STATES DISTRICT JUDGE
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